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AO 472 (3/86) Order of Detention Pending Trial

                                                           UNITED STATES DISTRICT COURT
                                                         NORTHafiN^^NQ^FoF GEORGIA
                                                                              U.S.D.C.-Atlanta
  UNITED STATES OF AMERICA, n ORDER OF DETENTION PENDING TRIAL
                                                                              ^iiv H-21C1
  THOMIKARILEY ^\.^L^^~". /CASE NO. 1:21-CR-430-WMR-JSA-4
                                                                      KEVIN^. W^TITTER, Clerk;
       In accordance with the Bail Reform Act, 18 U.S.CB(f3142(f), a deBfiatf^lfi&u-ing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                                              Part I-Findings of Fact
D (1) The defendant is charged with an offense described in 18U.S.C. §3142(f)(l) and has been convicted of a (federal
                  offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal
                  jurisdiction had existed) that is
                   D a crime of violence as defined m 18 U.S.C. §3156(a)(4).
                   D an offense for which the maximum sentence is life imprisonment or death.
                   D an offense for which the maximum term of imprisonment often years or more is prescribed in


                   D a felony that was committed after the defendant had been convicted of two or more prior federal offenses
                             described in 18 U.S.C. §3142(f)(l)(A)-(C), or comparable state or local offenses.
D (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state
                  or local offense.

D (3) A period of not more than five years has elapsed smce the (date of conviction) (release of the defendant from
                  imprisonment) for the offense described in findmg (1).
D (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will
                  reasonably assure the safety of (an) other person(s) and the community. I further fmd that the defendant has not
                  rebutted this presumption.
                                                              Alternate Findings (A)
       (1) -J^aere is probable cause to believe that the defendant has committed an offense
                             for which a maximum term of imprisonment often years or more is prescribed in.
                             under 18 U.S.C. §924(0.
D (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of
                  conditions will reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                               Alternate Findings (B)
D (1) There is a serious risk that the defendant will not appear.
Q (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                                       Part II - Written Statement of Reasons for Detention
       I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a preponderance

       'evidence)that^ k&v^.^(iJ.\^il^^Ln.^Vnuir^^ <Ld-mA^^Yt<&t^^

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                                                                Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative of confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an
attorney for the Government, the person in charge of the corrections facility shall deli-^ the defendant to the United States marshal for the
purpose of an appearance in connection with a court proceeding.


Dated 11/19/2021
                                                                                            Signature of Judicial Officer


                                                                                             ALAN J. BAVERMAN

      * Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq.); or (c) Section 1 of Act of
Sept.I5,I980(21U.S.C.§955a).
